        Case 1:19-cv-03826-ER Document 32 Filed 05/03/19 Page 1 of 2

                                                                           Ten	Post	Office	Square	
                                                                           8th	Floor	South	PMB,	#706	
                                                                           Boston,	MA	02109	
                            Consovoy McCarthy Park                 PLLc
                                                                           617.227.0548	
                                                                           www.consovoymccarthy.com	


                     MEMO EIN DOR,SED                                                  May	3,	2019	


The	Hon.	Edgardo	Ramos		
U.S.	District	Judge	
Thurgood	Marshall	U.S.	Courthouse	
Courtroom	619	
40	Foley	Square		
New	York,	NY	10007		

Re:	     Donald	J.	Trump	et	al	v.	Deutsche	Bank,	AG	et	al,	No.	1:19-cv-03826-ER	

Dear	Judge	Ramos:	

        On	behalf	of	Plaintiffs,	and	following	the	Court’s	Individual	Rules	of	Practice,	I	
write	 to	 request	 a	 conference	 to	 discuss	 Plaintiffs’	 desire	 for	 limited	 expedited	
discovery	 in	 advance	 of	 the	 preliminary-injunction	 hearing.	 Specifically,	 Plaintiffs	
seek	 an	 order	 requiring	 the	 Intervenor-Defendant	 Committees	 to	 give	 Plaintiffs	
copies	of	the	subpoenas	on	or	before	May	14,	so	their	purpose	and	scope	can	be	fairly	
challenged	by	Plaintiffs	in	their	reply	brief	and	assessed	by	the	Court	at	the	upcoming	
hearing.	 Plaintiffs	 asked	 the	 Committees	 for	 the	 subpoenas	 many	 times,	 and	 the	
Committees	(through	counsel)	declined	those	requests	in	writing	on	April	22,	2019,	
and	May	3,	2019.1	

        This	Court	has	broad	discretion	to	order	expedited	discovery	in	appropriate	
cases.	 See	 FRCP	 26(d)(1)	 (authorizing	 discovery	 outside	 the	 usual	 time	 frame	 set	
forth	by	Rule	26(f)	by	“court	order”);	Ayyash	v.	Bank	Al-Madina,	233	F.R.D.	325,	326-
27	(S.D.N.Y.	2005)	(concluding	that	the	rules	permitting	expedited	discovery	“confide	
the	 matter	 to	 the	 Court’s	 discretion”	 and	 should	 be	 assessed	 “under	 the	 flexible	
standard	of	reasonableness	and	good	cause”);	Digital	Sin,	Inc.	v.	Does	1-176,	279	F.R.D.	
239,	241	(S.D.N.Y.	2012)	(same).2		



        1	Plaintiffs	also	requested	copies	from	the	Defendant	Banks	on	April	19	and	May	3.	Counsel	for	

Deutsche	Bank	and	Capital	One	responded	that	Plaintiffs	should	direct	their	request	to	the	Committees,	
and	they	declined	to	produce	them	directly	to	Plaintiffs	absent	the	Committees’	consent.	
         2 	Other	 courts	 in	 this	 district	 have	 applied	 a	 more	 rigorous	 standard,	 similar	 to	 that	 for	 a	

preliminary	 injunction.	 See,	 e.g.,	 Notaro	 v.	 Koch,	 95	 F.R.D.	 403,	 405	 (S.D.N.Y.	 1982);	 North	 Atlantic	
Operating	Co.,	Inc.	v.	Evergreen	Distributors,	LLC,	293	F.R.D.	363,	367	(E.D.N.Y.	2013)	(combining	both	
tests).	Given	the	need	for	the	actual	subpoenas	here	and	the	lack	of	any	apparent	harm	from	their	
disclosure,	Plaintiffs’	limited	request	for	production	of	the	subpoenas	satisfies	either	standard.	
                     Case 1:19-cv-03826-ER Document 32 Filed 05/03/19 Page 2 of 2
                                                                                                                     2	



                    There	is	good	cause	to	require	disclosure	of	the	subpoenas	at	issue	here.	The	
            merits	 of	 this	 case	 revolve	 entirely	around	 the	alleged	legislative	purpose	of	these	
            subpoenas,	their	overly	broad	scope,	and	whether	they	seek	information	protected	
            by	the	 Right	to	Financial	Privacy	Act,	12	U.S.C.	§3501	 et	seq.	 While	the	Banks	have	
            given	Plaintiffs	a	partial	description	of	the	subpoenas,	see	Dkt.	28	Ex.	B,	neither	the	
            parties	 nor	 this	 Court	 should	 be	 forced	 to	 make	 assumptions	 or	 guess	 about	 the	
            specific	 parameters	 of	 the	 requests.	 Indeed,	 it	 is	 impossible	 for	 the	 parties	 or	 the	
            Court	 to	 even	 consider	 ways	 to	 narrow	 this	 dispute	 without	 analyzing	 the	 actual	
            requests	by	the	Committees.		

                    Nor	would	disclosure	of	the	subpoenas	cause	any	apparent	harm.	The	parties	
            already	 have	 a	 general	 description	 of	 them	 from	 one	 of	 the	 Banks,	 and	 the	
            Committees’	chairs	have	disclosed	their	existence	and	discussed	their	contents	with	
            the	 media. 3 	Other	 subpoenas	 seeking	 similar	 types	 of	 information	 are	 a	 matter	 of	
            public	record.4	And	in	resisting	Plaintiffs’	request	for	the	subpoenas,	the	Committees	
            cited	 no	 concerns	 about	 secrecy	 or	 national	 security,	 but	 simply	 invoked	 “long-
            standing	practice.”	Dkt.	28	Ex.	A.		

                    Under	these	circumstances,	there	is	good	cause	to	disclose	the	subpoenas	to	
            Plaintiffs	before	the	close	of	the	accelerated	briefing	schedule	and	the	scheduled	May	
            22	 hearing	 on	 the	 preliminary	 injunction.	 Plaintiffs	 believe	 this	 request	 is	
            straightforward	 and	 does	 not	 require	 formal	 motion	 practice,	 but	 will	 take	 any	
            further	action	that	the	Court	deems	appropriate.	Counsel	is	available	for	a	conference	
            at	the	Court’s	convenience.	

                                                                   Sincerely,	
A pre-motion conference will be held on Thursday,
May 9, 2019, at 2:30 p.m. Defendants are directed
to submit a response to Plaintiffs' letter by close of             		/s/	Patrick	Strawbridge	
business Tuesday, May 7, 2019.

It is SO ORDERED.


 Edgardo Rarhos, U.S.D.J
 Dated: _5/3/2019
           _ _ _ __
 New York, New York




                      3	See,	e.g.,	Emily	Flitter	&	David	Enrich,	Deutsche	Bank	Is	Subpoenaed	for	Trump	Records	by	

            House	 Democrats,	 New	 York	 Times	 (Apr.	 15,	 2019),	 nyti.ms/2Xa90V6;	 Kelsey	 Snell,	 Congress	
            Subpoenas	 Deustche	 Bank	 as	 Part	 of	 Democrats’	 Probe	 of	 Trump	 Finances,	NPR	 (Apr.	 16,	 2019	 9:59	
            A.M.),	n.pr/2KJTHBj.
                     4 	See,	 e.g.,	 4/12/2019	 Memo.	 from	 Chairman	 Elijah	 E.	 Cummings	 to	 Members	 of	 Cmte.	 on	

            Oversight	 &	 Reform,	 politi.co/2PJf5Wg	 (containing	 proposed	 subpoena	 to	 Mazars	 USA	 LLP	 for	
            financial	statements	prepared	on	behalf	of	President	Trump).	
